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                         Exhibit 5

            Declaration of James Doe
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF IOWA


GLBT YOUTH IN IOWA SCHOOLS TASK FORCE                         Case No. 4:23-cv-474
d/b/a/ IOWA SAFE SCHOOLS; P.B.-P., by his parent and
next friend, BELINDA SCARROTT; P.C. and A.C., by
their parents and next friends, RICHARD and ULRIKE               DECLARATION OF
CARLSON; T.S., by her parent and next friend, ERIC                 JAMES DOE
SAYLOR; B.F.S., by their parents and next friends,
BRIGIT and JOSEPH STEVENS; ROBERT SMITH, by
his parents and next friends, JANE and JOHN SMITH;
B.F., by their parent and next friend, LARA NEWSOM;
JAMES DOE, by his parent and next friend, JOHN DOE,

              Plaintiffs,

       v.

KIM REYNOLDS, in her official capacity as Governor of
the State of Iowa; MCKENZIE SNOW, in her official
capacity as Director of the Department of Education;
IOWA DEPARTMENT OF EDUCATION; IOWA STATE
BOARD OF EDUCATION; IOWA CITY COMMUNITY
SCHOOL DISTRICT; MATT DEGNER, in his official
capacity as Iowa City Community School District
Superintendent; MOLLY ABRAHAM, J.P. CLAUSSEN,
CHARLIE EASTHAM, JAYNE FINCH, RUTHINA
MALONE, MITCH LINGO, and LISA WILLIAMS, in
their official capacities as board members of the Iowa City
Community School District; SIOUX CITY COMMUNITY
SCHOOL DISTRICT; ROD EARLEYWINE, in his official
capacity as Sioux City Community School District
Superintendent; DAN GREENWELL, LANCE EHMCKE,
JAN GEORGE, TREYLA LEE, JOHN MEYERS, BOB
MICHAELSON, and EARL MILLER, in their official
capacities as board members of the Sioux City Community
School District; URBANDALE COMMUNITY SCHOOL
DISTRICT; ROSALIE DACA, in her official capacity as
Urbandale Community School District Superintendent;
KATHERINE HOWSARE, RACHEL KENT, JENNY
MEADE, JASON MENKE, JULIE MITCHELL, STEVE
RICHMAN, JOSH VAN RSWYK, CARISSA WILLIAMS,
and MARGARET YOUNG, in their official capacities as
board members of the Urbandale Community School
District; WATERLOO COMMUNITY SCHOOL
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    DISTRICT; JARED SMITH, in his official capacity as
    Waterloo Community School District Superintendent; SUE
    FLYNN, JESSE KNIGHT, ASTOR WILLIAMS, LYLE
    SCHMITT, STACIE MILLS, JANELLE EWING, PAM
    ARNDORFER, and JEFF SOMMERFELDT, in their
    official capacities as board members of the Waterloo
    Community School District; WEST DES MOINES
    COMMUNITY SCHOOLS; MATT ADAMS, in his official
    capacity as West Des Moines Community Schools
    Superintendent; JEFF HICKS, MICHAEL ANDRESKI,
    ELIZABETH LARSON, LILA P. MONTOYA STARR,
    FANNETTE ELLIOTT, JILL CATON JOHNSON, and
    ANADELIA MORGAN, in their official capacities as
    board members of the West Des Moines Community
    Schools District,

                 Defendants.



         COMES NOW, James Doe, and pursuant to 28 U.S.C §1746, declares under penalty of

perjury that the following is true and correct:

         1.     I provide this testimony under a pseudonym, James Doe.1 I am a 16-year-old boy.

I have personal knowledge of the facts as stated herein.

         2.     I am a high school student in Sioux City, Iowa.

         3.     When I was in the fifth grade, I got a short haircut for the first time. Because hair

length was how people identified the gender of young kids, I got mistaken for a boy a lot. But soon

I realized that I preferred it when people made the mistake. I didn’t know if I was transgender or

something else, but what I did know was that hearing my name turned my skin inside out and that

I couldn’t look in the mirror for too long without wincing. By seventh grade, I had figured out who

I was. A boy. Most people in school didn’t get it and although some of their questions were purely



1
 I have sought leave to proceed under a pseudonym in this matter to protect my right to privacy,
and to protect myself from discrimination, harassment, and violence, as well as retaliation for
seeking to protect my rights.
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curious some had more negative connotations. But because I wasn’t out to my parents yet I was

afraid to go to any teachers about it, in fear they would out me. After I came out and got the support

I needed, I made it clear to the people around me that I was not going to tolerate any harassment.

But that confidence was mostly because I knew that I would have support from the school and my

parents if something were to happen.

       4.      I have legally changed my name and my birth certificate has been amended in

accordance with my gender identity.

       5.      When I heard about a law being passed that forced teachers to out their students I

thought, “There's no way that will actually get passed. The legislators will realize how many kids

could get hurt from that and it will get struck down.” I’m sad to say I was wrong. I’m part of the

cabinet for my high school GSA and therefore it is my responsibility to make sure that none of our

members are put into a dangerous situation just by being there. But they are. The teacher

sponsoring our GSA had said that they would not out us to our parents. But their word isn’t going

to feel safe enough for most of our members. For many of our members, GSA is the only

opportunity they have to feel a sense of community among other queer students. But having a

teacher there who is actively going against a law that could get them fired is not a risk they are

willing to take.

       6.      Similar to middle school, when I was afraid to talk to any teachers about the

bullying I was experiencing, many of my peers are equally afraid to talk to teachers now. If the

source of the bullying is because they are transgender the student would be outed. I know members

of the GSA that are not talking to teachers about the bullying they are experiencing because getting

outed at home would be worse. But that doesn’t make the bullying any more tolerable.




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          7.    I also know of students who are afraid to come to GSA meetings because of the

law. New students to the high school either don’t know our sponsor well enough or just don’t want

to risk it. This makes it difficult to gain new members, because no matter how much promoting

we do, if students are afraid to come it doesn’t matter. We have many plans for the GSA and things

we want to accomplish for the school and queer students. But it seems as though we are having

trouble gaining new members this year. If we cannot gain new members eventually the GSA will

not have enough people to accomplish anything.

          8.    I feel that the law also limits discussion in other classes and around the school.

Before this law was passed, I would often hear groups of students who were not affiliated with

GSA discussing queer topics. Such as jokes or expressing solidarity with each other. But recently

I feel as if these kinds of discussions are absent. I also feel as though no one wants to bring up

queer discussions in classes. I am in an AP literature class as well as an American history class

and I myself am hesitant to bring up queer themes or issues when having class discussions. Mainly

because I know that the teacher could get in trouble for discussing it.

          9.    We were also told by our school administration that we would not be allowed to

walk with pride flags in the homecoming parade because there would be elementary students

present. Later the school board reversed that decision, but I am worried that in the future this law

may force our school board to adopt a policy that limits the representation of the GSA at public

events.

          10.   I believe this lack of discussion and education is leading to a more difficult

environment for queer students. I was recently talking to some students in class who were very

confused about the concept of being transgender altogether. It has never been out of the ordinary

for students to ask me questions and I was comfortable explaining the concept to them. But the



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law makes it unsafe for any other students who are not out at home to answer any similar questions,

because if a teacher overheard, they could get outed. This creates an unsafe school life for

transgender students. There is bullying and ignorance happening in my school that could be

prevented by educating students, but it can’t, because teachers and other students are prevented

from doing so by the law.

       11.     SF 496 has affected my school experience in other ways as well. I am in an

Advanced Placement (“AP”) literature class. My fellow students in the class and I were informed

by a teacher that certain books, such as The Color Purple, A Handmaid’s Tale, and possibly 1984,

that otherwise would be part of the curriculum are no longer supposed to be taught. Other books

that ordinarily would be assigned later in the year have been assigned this fall because our teacher

reasonably fears that these books may be targeted by book-banning efforts pursuant to SF 496.

However, there is only so much time before the book-banning goes into effect and we will not be

able to read and study many of the books that my teacher believes analysis of will help us on the

national AP literature examination.

       12.     That same teacher also informed us that books will be removed from classroom

shelves and the library. The teacher told us that they were unsure what books would be removed

from their shelves, as they did not receive a specific list, but that any book containing sex had to

be removed. This includes books on the AP literature reading list, the recommended books to read

before taking the AP test. The teacher didn’t think what constitutes sex was well defined. A fellow

teacher told them that if they hadn’t read the book personally, they should remove it to be safe.

The teacher who told us this said they believe all these book removals will be to the detriment of

the class’s preparedness for the national AP literature examination, and I agree. I will not be taught

these banned books while students in other states will. I want to learn the literature from the AP



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